                                   Case 22-11124-AJC                Doc 52           Filed 05/24/22       Page 1 of 4
                                    UNITED STATES BANKRUPTCY COURT,SOUTHERN DISTRICT OF FLORIDA

                                                                       www.flsb.uscourts.uov
                                                    CHAPTER 13 PLAN (Individual Adjustment of Debts)
                             □                                         Original Plan

                             @ SECOND                                  Amended Plan {Indicate 1st, 2nd, etc. Amended, if applicable)

                             □                                         Modified Plan (Indicate 1st, 2nd, etc. Modified, ii'applicable)

    DEBTOR: AVA CELESTE BENJAMIN                               JOINT DEBTOR:                                     CASENO.: 22-11124-AJC

    SS/^: xxx-xx- 3669                                          SSf^: xxx-xx-
    I.          NOTICES

                To Debtors:          Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                     modilled plans shall be served upon all creditors and a certificate of service Hied with the Clerk pursuant to Local
                                     Rules 2002-1 (C)(5), 3015-I(B)(2), and 3015-2. Deblor(s) must commence plan payments within 30 days of filing
                                     the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                To Creditors:        Your rights may be affected by this plan. You must flic a timely proof of claim in order to be paid. Your claim may
                                     be reduced, modified or eliminated.

                To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                     on each line listed below in this section to state whether the plan includes any of the following:

         The valuation of a secured claim, set out in Section HI. which may result in a
                                                                                                                 [■]     Included        I   I   Not included
         partial payment or no payment at all to the secured creditor
         Avoidance of ajudicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                 I   I   Included        [¥]     Not included
         out in Section III
         Nonstandard provisions, set out in Section IX                                                           I   I   Included        [■]     Not included
    H.          PLAN P.AYMENTS, LENGTH OF PLAN AND DEBTORfS)’ .ATTORNEY'S FEE

                A.      MONTHLY PLAN PAYMENT: This Plan pays for tlie bcnellt of the creditors the amounts listed below, including trustee's
                       fees of 10%, beginning 30 days from the flling/conversion date. In the event the trustee does not retain the full 10%, any unused
                       amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                       1.   SL835.32              for months        to 60       ;

                B.     DEBTQRfSV ATTORNEY'S FEE:                                          □ NONE    □ PRO BONO
             Total Fees:             S5.700.00           Total Paid:                $2,487.00        Balance Due:            $3,213.00

             Payable              $69.89          /month (Months _\_ to _4^ )
             Pavable              $67.95          /month (Months 46     to 46 )
             Allowed fees under LR 2016-1(B)(2) are itemized below:
             Jose A. Blanco. Esq.: $4,500 Attorneys Fees $525 Motion to Value + $525 Motion to Value + $150 Cost = $5,700.00

             Applications for compensation must be Hied for all fees over and above the Court's Guidelines for Compensation.
    HI.         TREATMENT OF SECURED CLAIMS                       □ NONE

                A. SECURED CLAIMS:                □ NONE
                [Retain Liens pursuant to 1 1 U.S.C. § 1325 (a)(5)] Mortgage(s)/Licn on Real or Personal Property:
              1. Creditor: Ti A A FSB

                  Address: 301 West Bay Street                  Arrearage/ Payoffon Petition Date   $35,247.75
                           Jacksonville, FL 32202                                                            $587.46
                                                                Arrears Payment (Cure)                                      /month (Months       1   to 60   )

                                                                Regular Payment (Maintain)                   $831.30        /month (Months       I   to 60   )
              Last 4 Digits of
              Account No.:                 6870

             Other:




LF-31 (fcv. OVOI/22)                                                        Pago I ol'4
                                     Case 22-11124-AJC           Doc 52           Filed 05/24/22        Page 2 of 4

                                                                    Debtor(s): AVA CELESTE BENJAMIN                         Case number: 22-11124-AJC


        [■] Real Property                                                      Check one below for Real Property:
                   [■iPrincipal Residence                                       [W]Escrow is included in the regular payments

                   I   [Other Real Property                                     QXhe debtor(s) will pay     Qtaxes      |   [insurance directly
            Address of Collateral:
            2246 NW 61 Street, Miami, FL 33142


        [     I Personal PropertyA^ehicle

            Description of Collateral;

              B. VALUATION OF COLLATERAL:                Q NONE
                       IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                       SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                       YOU PURSUANT TO BR 7004 AND LR 3015-3.

                       1. REAL PROPERTY: [f] NONE

                       2. VEHICLES(S):        □ NONE

            1. Creditor: Lugano Capital Inc             Value of Collateral;              $4,000.00                          Payment
                         dba Start Auto Finance Corp.
                                                        Amount of Creditor's Lien:        $9,919.55       Total paid in plan:          $4,556.64
                         c/o Sobhan Arafa, CEO

                Address: 6600 Taft Street, Ste 200
                         Hollywood, FL 33024            Interest Rate:       5.25%                            $75.95        /month (Months        I to 60 )


            Last 4 Digits of Account No.: 5205
            VIN: JNKAJ09E18M304148

            Description of Collateral:
            2008 Infiniti Ex35 Sport Utility



            Check one below;

            ^Claim incurred 910 days or more pre-
            '—'petition
            I—iCIaim incurred less than 910 days pre-
            —^petition
            2. Creditor: Innovate Loan Service          Value of Collateral:              $3,000.00                          Payment

                Address; 2201 Dottie Lynn Parkway       Amount of Creditor's Lien:        $5,905.22       Total paid in plan:          $3,417.48
                         Ft. Worth, TX 76120

            Last 4 Digits of Account No.: 1934          Interest Rate:       5.25%                            $56.96        /month (Months        1 to 60 )

            VIN: 1N4AL2AP0CN463868

            Description of Collateral:
            2012 Nissan Altiina S



            Check one below:

            s Claim  incurred 910 days or more pre
              petition
            j—iClaim incurred less than 910 days pre-
            '—'petition

                       3.   PERSONAL PROPERTY: \m} NONE

              C.       LIEN AVOIDANCE [f] NONE


LF-31 (rev, 04/01/22)                                                    Page 2 of4
                                   Case 22-11124-AJC                 Doc 52          Filed 05/24/22      Page 3 of 4

                                                                       Debtor(s): AVA CELESTE BENJAMIN                  Case number: 22-11124-AJC

            D. SURRENDER OF COLLATERAL:                       \W\ NONE

           E. DIRECT PAYMENTS                  [f] NONE
IV.        TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                           □ NONE
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORSfSV ATTORNEY'S FEE: □ NONE

               1 Name: Stale of Florida - Department of Revenue, Bankruptcy

               Payment Address: P.O. BOX 8045, Tallahassee, FL 32314

               Total Due:                Sl.813.64

                    Payable      $30.23      /month (Months     1 to 60 )

            B. INTERNAL REVENUE SERVICE;                    [1 NONE

            C. DOMESTIC SUPPORT OBLIGATIONfSl: B NONE

            D. OTHER; 0 NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                        □ NONE

               A. Pay           $1.94         /month (Months    46    to 46 )

                     Pay        $69.89        /month (Months    47    to 60 )

                     Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

               B. n If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

               C.       SEPARATELY CLASSIFIED:           0] NONE

VI.         STUDENT LOAN PROGRAM                     [f] NONE

VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                      0] NONE
VIII.       INCOME TAX RETURNS AND REFUNDS;

                    0] The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                       annual basis during the pendency of this case. The deblor(s) hereby acknowledges that the deadline for providing the
                       Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                       provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                       increases by more than 3% over the previous year’s income. [Miami cases]

IX.         NON-STANDARD PLAN PROVISIONS 0] NONE




LF-31 (rev, 04/01/22)                                                       Page 3 of 4
                               Case 22-11124-AJC               Doc 52         Filed 05/24/22    Page 4 of 4

                                                                   Debtor(s); AVA CELESTE BHNJAMIN               Case number: 22-11124-AJC



                        PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S)UPON PLAN CONFIRMATION.


   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.



                                        Debtor                                                           Joint Debtor

    VA CELESTE BENJAMIN                                   Date                                                                  Date




                                                        Date
    Attorney with permission to sign on
     Debtor(s)' behalf who certifies that
     the contents of the plan have been
       reviewed and approved by the
                            1
                 Debtor(s).


  By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
  order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
  contains no nonstandard provisions other than those set out in paragraph IX.




^This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




LF-31 (rev. 04/01/22)                                                 Page 4 of4
